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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 V&S ELMWOOD LANES, INC.,                                 CIVIL ACTION
              Plaintiff,

                v.

 EVEREST NATIONAL INSURANCE                               NO. 20-3444
 COMPANY,
               Defendant.

                                              ORDER

       AND NOW, this 8th day of January, 2021, upon consideration of Defendant’s Motion to

Dismiss Plaintiff’s First Amended Complaint (Document No. 19, filed November 2, 2020),

Plaintiff’s Opposition to Defendant’s Motion to Dismiss the First Amended Complaint

(Document No. 20, filed November 16, 2020), Defendant’s Reply in Further Support of Its

Motion to Dismiss Plaintiff’s First Amended Complaint (Document No. 23, filed November 30,

2020), Defendant’s Notice of Supplemental Authority in Further Support of Its Motion to

Dismiss (Document No. 27, filed December 1, 2020), and Defendant’s Second Notice of

Supplemental Authority in Further Support of Its Motion to Dismiss (Document No. 30, filed

December 23, 2020), for the reasons stated in the accompanying Memorandum dated January 8,

2021, IT IS ORDERED that the Court DECLINES to retain jurisdiction over this matter. The

case is DISMISSED WITHOUT PREJUDICE to V&S Elmwood Lanes, Inc.’s right to file a

declaratory judgment action in state court.

       IT IS FURTHER ORDERED that the Clerk of Court shall MARK the case CLOSED.

                                                   BY THE COURT:

                                                   /s/ Hon. Jan E. DuBois

                                                      DuBOIS, JAN E., J.
